          IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF MISSOURI
                        WESTERN DIVISION

UNITED STATES OF AMERICA,      )
                    Plaintiff, )
                               )
v.                             ) No. 07-00007-02/03/06/07-CR-W-FJG
                               )
RAYMOND W. ZWEGO, JR., et al,  )
                   Defendants. )

                                       ORDER

      Currently pending before the Court is Defendant Kinman’s Motion to Strike

Government’s Experts (Doc. No. 133); Defendant Peterson’s Motion to Strike

Government’s Experts (Doc. No. 141); and Defendants Shields and Cardarella’s Motion to

Strike Government’s Experts (Doc. No. 145). The Government seeks to admit two expert

witnesses at trial: (1) Sandra Gail Thomas, Vice-President of Compliance for Indy Mac

Bank and (2) Kellee Dunn-Walters, employee at Chicago Title Company. The Government

also proposes many fact witnesses who will testify regarding the 5034 Sunset Drive

transaction. Defendants’ motions seek to strike these experts and witnesses, or in the

alternative, hold a Daubert hearing. Each motion will be considered below.

A.    Defendant Kinman’s Motion to Strike Government’s Experts (Doc. No. 133)

      Defendant Kinman argues Government’s experts should be stricken because (1)

notice is deficient, and (2) the proposed experts are not proper under the standards

established by federal rules and case law.

      First, Kinman argues the government notice is deficient because it does not

adequately state the necessary information under Rule 16. Under Rule 16(a)(1)(G), the

Government must give to the defendant a written summary of any testimony that the




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government intends to uses under Rules 702, 703, or 705 of the Federal Rules of

Evidence. “The summary provided under this subparagraph must describe the witness’s

opinions, the bases and reasons for those opinions, and the witness’s qualifications.”

Kinman argues the Government provided nothing to substantiate the claim that Ms.

Thomas is possessed with such knowledge and expertise to provide the testimony

proffered concerning mortgage brokers. Kinman further states that the Government’s

notice fails to specifically indicate what will be said by Ms. Thomas.

       Second, Kinman argues Ms. Thomas is not an expert and her testimony would be

irrelevant and prejudicial. Kinman asserts Ms. Thomas’s testimony is irrelevant because

the crux of this case is what Fieldstone Mortgage requested and received in terms of

information and the Government already has factual witnesses who will testify about the

exchanges of information.

       Finally, Kinman contends that the numerous Fieldstone Mortgage employees the

Government identifies are not experts. Again, Kinman attacks the Government’s notice

provided about these employees. Kinman admits Fieldstone Mortgage employees can

testify about the factual events concerning the loan for 5034 Sunset, but asserts these

individuals are not experts under the Federal Rules of Evidence. Kinman argues expert

opinion should not be permitted from these factual witnesses. Kinman further states that

if the Court disagrees with his position, then he asks the Court for the following Soldi

Financial employees to be offered as experts: Michael McNellis, Don Maske, Kris Plumhoff,

John Moos, Angela Hoffman, Jill Strueby, and Mr. Kinman.




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B.    Defendant Peterson’s Motion to Strike Government’s Experts (Doc. No.
      141)

      Defendant Peterson sets forth similar arguments as Kinman. Peterson also argues

the Government’s expert witness summary does not meet Rule 16 disclosure requirements

because the Government does not disclose the opinions or the bases for those opinions.

Even if the Government provides a proper summary, Peterson believes such testimony is

irrelevant to a jury determination of the issue. Peterson is unsure how “expert testimony

as to unrelated, uncharged transactions” is relevant to the pending charges.

      Lastly, Peterson argues the proposed expert witness testimony should be excluded

under Rule 403. Peterson states having the experts testify that the transaction was

“suspect” and “raised red flags” is “nothing more than an attempt by the Government to use

the knowledge and intent possessed by purported experts in an attempt to transfer that

knowledge and intent to Peterson and other defendants.” Peterson notes that “what may

raise red flags or be suspect in the mind of one witness does not necessarily do so with

another witness, and certainly does not rise to the level of expert testimony.” Peterson

contends that such testimony will confuse the issues for the jury.

      In the alternative, Mr. Peterson requests the Court to direct the Government to fulfill

its duties under Rule 16 regarding expert disclosure and hold a Daubert hearing.

C.    Defendants Shields and Cardarella’s Motion to Strike Government’s Experts
      (Doc. No. 145)

      Defendants Shields and Cardarella adopt and join the arguments made by Kinman

and Peterson. Defendants further argue this “so-called expert testimony is improper

speculation as to the state of mind of Shields and Cardarella” and that only the jury is



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entitled to draw such conclusions from the admissible evidence as presented at trial.

Defendants also state that it is one thing for Ms. Koehler, for example, to testify as to the

facts of this transaction, but it is another for the Government to ask for her opinion on the

normal manner in which such transactions occur and her concerns about the transaction.

Defendants state that Koehler’s concerns have nothing to do with the crime charged.

       Finally, defendants argue that the Government seeks to have these witnesses tell

the jury what result to reach as well as tell the jury what defendants should have known or

must have intended, which in their view is inappropriate.

       In response to defendants’ motions to strike discussed above, Government first

responds that defendants delayed until Friday, May 25, 2007 to inform the Government of

their concerns regarding the experts. The Government notes it timely provided its expert

witness disclosures on Friday, May 18, 2007. The Government responds to defendants’

argument that its notice was deficient in stating it would be happy to cure the deficiency

problems by providing a better description of the testimony, providing a CV, and refers

them to the case of United States v. Barber where the Government’s experts previously

testified. Government states it is willing to work with defense counsel to resolve their

concerns as to notice under Rule 16.

       Second, the Government asserts it is unnecessary to hold a Daubert hearing when

the Government’s experts have previously testified in this Court. The Government also

notes it has only identified Ms. Dunn-Walters and Ms. Thomas as experts and that the

Fieldstone Mortgage employees are not experts and are only fact proposed witnesses.

For example, the government states that Lance Looney, Fieldstone Mortgage employee,

will be asked about the real estate contract defendant Kinman presented to him. Next, the

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Government states Looney will be asked if he would have processed the loan application

based on that sales contract any differently if he had known that the signatures of

defendants Cardarella, Shields, and the Barshaws were all forgeries.

       The Government disagrees with defendants’ argument that the experts will testify

as to the state of mind of defendants. Government states “no expert witness will be asked

to opine on whether any of the defendants did or did not have the mental state or condition

constituting an element of the crimes charged.”

       Because Ms. Dunn-Walters and Ms. Thomas have previously testified in this Court

as mixed fact/expert witnesses in United States v. Barber, Case No. 04-00325-01-CR-FJG,

the Court hereby DENIES defendants’ request to conduct a Daubert hearing as to these

expert witnesses. Further, since the Government offered to cure the deficiency problems

associated with its notice of its expert and fact witnesses, defendant Kinman’s argument

on this issue is moot.

       The Court disagrees with defendants’ objections that the Government’s proposed

fact witnesses are essentially experts posed as fact witnesses and should be excluded.

The Government seeks to offer the following witnesses as fact witnesses: John Edwards,

real estate agent at Prudential Real Estate; Susan Fate, real estate agent at Reece and

Nichols Residential Real Estate; Kathleen Koehler, real estate agent at Reece Nichols;

James Vogel, employee at Fieldstone Mortgage; Kim LaJoyce Andgerson, employee at

Fieldstone Mortgage; Scott Earl Ekman, closer at Fieldstone Mortgage; Lance James

Looney, account executive at Fieldstone Mortgage; Victoria Staggs, loan underwriter at

Fieldstone Mortgage; and Charis Winstead, employee at Fieldstone Mortgage. Based on

the Government’s Proposed Order of Proof submitted to the Court for its review, the Court

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concludes that the nature and substance of the testimony of these latter fact witnesses do

not amount to expert opinion. The Government’s Order of Proof demonstrates that these

fact witnesses will testify regarding their knowledge of the transaction involving 5034

Sunset Avenue. For example, the Government states that Kathleen Koehler, a listing real

estate agent, listed defendants’ Cardarella and Shields’ property for $699. 950 and she will

testify regarding the transaction presented to her company. The Court does not consider

such testimony to be expert opinion.

       Additionally, the Court disagrees that asking fact witnesses such as Ms. Koehler

about her concerns with the transaction and how such transactions operate relates to the

defendants’ state of mind. The Court does, however, note that if any of these fact

witnesses are providing testimony at trial which defendants consider to be expert opinion,

then defendants may renew their objections at trial.     Moreover, if defendants consider

certain statements made by these fact witnesses at trial to be irrelevant, then these

objections should also be raised during trial.

       Accordingly, for the foregoing reasons, the Court hereby DENIES Defendant

Kinman’s Motion to Strike Government’s Experts (Doc. No. 133); Defendant Peterson’s

Motion to Strike Government’s Experts (Doc. No. 141); and Defendants Shields’ and

Cardarella’s Motion to Strike Government’s Experts (Doc. No. 145).



IT IS SO ORDERED.

Date: 10/16/07                                   S/ FERNANDO J. GAITAN, JR.
Kansas City, Missouri                            Fernando J. Gaitan, Jr.
                                                 Chief United States District Judge



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